                                1
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                               12
                                    Proposed Attorneys for Debtors
Weil, Gotshal & Manges LLP




                               13
 New York, NY 10153-0119




                                    and Debtors in Possession
                               14
      767 Fifth Avenue




                               15                             UNITED STATES BANKRUPTCY COURT
                               16                             NORTHERN DISTRICT OF CALIFORNIA
                               17                                     SAN FRANCISCO DIVISION
                               18

                               19   In re:                                            Case No. 19-30088 (DM)
                                                                                      Chapter 11
                               20   PG&E CORPORATION,

                                              - and -                                 (Lead Case)
                               21                                                     (Jointly Administered)
                               22   PACIFIC GAS AND ELECTRIC
                                    COMPANY,                                          NOTICE OF AGENDA FOR
                               23                                                     MARCH 27, 2019 9:30 A.M.
                                                                 Debtors.             OMNIBUS HEARING
                               24
                                     Affects PG&E Corporation
                                     Affects Pacific Gas and Electric Company        Date: March 27, 2019
                               25                                                     Time: 9:30 a.m. (Pacific Time)
                                    Affects both Debtors
                               26                                                     Place: United States Bankruptcy Court
                                    * All papers shall be filed in the lead case,            Courtroom 17, 16th Floor
                               27   No. 19-30088 (DM)                                        San Francisco, CA 94102

                               28


                             Case: 19-30088      Doc# 1042       Filed: 03/26/19    Entered: 03/26/19 09:28:55    Page 1 of
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                                1                              PROPOSED AGENDA FOR
                                                          MARCH 27, 2019 9:30 A.M. (PACIFIC TIME)
                                2                                 OMNIBUS HEARING
                                3     I.   MATTERS SCHEDULED TO BE HEARD IN MAIN CASE: No. 19-30088 (DM)
                                4   UNCONTESTED MATTERS GOING FORWARD
                                5          1.      Supplemental Prepetition Taxes Motion: Supplemental Motion Pursuant to 11
                                    U.S.C. §§ 105, 363(b), 507(a), and 541(d) and Fed. R. Bankr. P. 6004 Authorizing Debtors to
                                6   Pay Prepetition Taxes and Assessments and Granting Related Relief [Dkt. 761].
                                7                 Response Deadline: March 20, 2019, at 4:00 p.m. (Pacific Time).
                                8                 Responses Filed: No responses were filed.
                                9                 Related Documents:
                               10                 A.     Motion of Debtors Pursuant to 11 U.S.C. §§ 105, 363, 507(a), and 541(d)
                                                         and Fed. R. Bankr. P. 6003 and 6004 for Interim and Final Authority to
                               11                        Pay Certain Prepetition Taxes and Assessments and Granting Related
                                                         Relief [Dkt. 11].
                               12
                                                  B.     Declaration of Jason B. Wells in Support of First Day Motions and
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                                                         Related Relief [Dkt. 28]
      767 Fifth Avenue




                               14                 C.     Declaration of Mark Caron in Support of Supplemental Motion Pursuant
                                                         to 11 U.S.C. §§ 105, 363(b), 507(a), and 541(d) and Fed. R. Bankr. P.
                               15                        6004 Authorizing Debtors to Pay Prepetition Taxes and Assessments and
                                                         Granting Related Relief [Dkt. 762].
                               16
                                                  D.     Request for Entry of Order by Default on Supplemental Motion Pursuant
                               17                        to 11 U.S.C. §§ 105, 363(b), 507(a), and 541(d) and Fed. R. Bankr. P.
                                                         6004 Authorizing Debtors to Pay Prepetition Taxes and Assessments and
                               18                        Granting Related Relief [Dkt. 1037]
                               19                 Status: No objections or responses were received to the Supplemental Prepetition
                                                  Taxes Motion. The Debtors filed a request for entry of order by default and
                               20                 uploaded the proposed order on the Supplemental Prepetition Taxes Motion. If
                                                  the Court does not enter the proposed order on the Supplemental Prepetition
                               21                 Taxes Motion before the hearing, this matter will go forward on an uncontested
                                                  basis.
                               22
                                    CONTESTED MATTERS GOING FORWARD
                               23
                                            2.     Butte County Prepetition Settlement Agreement Motion: Motion of Debtors
                               24   Pursuant to 11 U.S.C. §§ 363(b) and 105(a) for Authority to Continue Performance under
                                    Prepetition Settlement Agreement with Butte County District Attorney’s Office to Fund
                               25   Enhanced Fire Prevention and Communications Program [Dkt. 770].
                               26                 Response Deadline: March 20, 2019, at 4:00 p.m. (Pacific Time).
                               27

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                                                                          12
                                1                 Responses Filed:
                                2                 A.     Limited Opposition to Motion of Debtors Pursuant to 11 U.S.C. §§ 363(b)
                                                         and 105(a) for Authority to Continue Performance under Prepetition
                                3                        Settlement Agreement with Butte County District Attorney’s Office to
                                                         Fund Enhanced Fire Prevention and Communications Program [Dkt. 986].
                                4
                                                  Related Documents:
                                5
                                                  B.     Declaration of Stephen L. Schirle in Support of Motion of Debtors
                                6                        Pursuant to 11 U.S.C. §§ 363(b) and 105(a) for Authority to Continue
                                                         Performance under Prepetition Settlement Agreement with Butte County
                                7                        District Attorney’s Office to Fund Enhanced Fire Prevention and
                                                         Communications Program [Dkt. 769].
                                8
                                                  C.     Reply in Support of Motion of Debtors for Authority to Continue
                                9                        Performance under Prepetition Settlement Agreement with Butte County
                                                         District Attorney’s Office to Fund Enhanced Fire Prevention and
                               10                        Communications Program [Dkt. 1028].
                               11                 D.     Statement of the Official Committee of Tort Claimants in Response to (I)
                                                         Motion of Debtors Pursuant to 11 U.S.C. §§ 363(b) and 105(a) for
                               12                        Authority to Continue Performance under Prepetition Settlement
                                                         Agreement with Butte County District Attorney’s Office to Fund
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                               13                        Enhanced Fire Prevention and Communications Program, and (II) Limited
 New York, NY 10153-0119




                                                         Objection of the Singleton Law Firm Fire Victim Claimants [Dkt. 1029].
      767 Fifth Avenue




                               14
                                                  Status: This matter is going forward.
                               15
                                           3.      NOL Motion. Motion of Debtors Pursuant to 11 U.S.C. §§ 105(A) and 362 for
                               16   Interim and Final Orders Establishing Notification Procedures and Approving Restrictions on
                                    Certain Transfers of Stock of, and Claims Against, the Debtors [Dkt. 10].
                               17
                                                  Response Deadline: February 20, 2019.
                               18
                                                  Responses Filed:
                               19
                                                  A.     Limited Objection of the Official Committee of Unsecured Creditors to
                               20
                                                         Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a) and 362 for Interim
                               21                        and Final Orders Establishing Notification Procedures and Approving
                                                         Restrictions on Certain Transfers of Stock of, and Claims Against, the
                               22                        Debtors [Dkt. 605].
                               23                 B.     Corrected Limited Objection of the Official Committee of Unsecured
                                                         Creditors to Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a) and 362
                               24
                                                         for Interim and Final Orders Establishing Notification Procedures and
                               25                        Approving Restrictions on Certain Transfers of Stock of, and Claims
                                                         Against, the Debtors [Dkt. 613].
                               26
                                                  C.     Joinder of BOKF, NA as Indenture Trustee to Limited Objection of the
                               27                        Official Committee of Unsecured Creditors to Motion of Debtors Pursuant
                               28


                             Case: 19-30088     Doc# 1042     Filed: 03/26/19    Entered: 03/26/19 09:28:55      Page 3 of
                                                                          12
                                1                            to 11 U.S.C. §§ 105(a) and 362 for Interim and Final Orders Establishing
                                                             Notification Procedures and Approving Restrictions on Certain Transfers
                                2
                                                             of Stock of, and Claims Against, the Debtors [Dkt. 614].
                                3
                                                  D.         Joinder of the Ad Hoc Committee of Senior Unsecured Noteholders to
                                4                            Limited Objection of the Official Committee of Unsecured Creditors to
                                                             Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a) and 362 for Interim
                                5                            and Final Orders Establishing Notification Procedures and Approving
                                                             Restrictions on Certain Transfers of Stock of, and Claims Against, the
                                6                            Debtors [Dkt. 616].
                                7
                                                  Related Documents:
                                8
                                                  E.         Interim Order Pursuant to 11 U.S.C. §§ 105(a) and 362 Establishing
                                9                            Notification Procedures and Approving Restrictions on Certain Transfers
                                                             of Stock of, and Claims against, the Debtors [Dkt. 212].
                               10
                                                  F.         Proposed Final Order on the NOL Motion and redline comparison against
                               11                            the interim order previously entered by the Court [Dkt. 491-9].
                               12                 G.         Reply of Debtors to Limited Objection of Unsecured Creditors Committee
                                                             and Successor Indenture Trustee to Motion for Orders Establishing
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                                                             Notification Procedures and Approving Restrictions on Certain Transfers
                                                             of Stock of, and Claims against, the Debtors [Dkt. 650].
      767 Fifth Avenue




                               14

                               15                 H.         Further Revised Proposed Final Order on the NOL Motion and redline
                                                             comparison against the proposed final order previously filed with the NOL
                               16                            Motion [Dkt. 654-6].
                               17
                                                  Status: This matter is going forward.
                               18
                                           4.       DIP Financing Motion. Motion of Debtors Pursuant to 11 U.S.C. §§ 105, 362,
                               19   363, 364, 503 and 507 and Fed. R. Bankr. P. 2002, 4001, 6003, 6004 and 9014 for Interim and
                                    Final Orders (I) Authorizing the Debtors to Obtain Senior Secured, Superpriority, Postpetition
                               20   Financing, (II) Granting Liens and Superpriority Claims, (III) Modifying the Automatic Stay,
                                    (IV) Scheduling Final Hearing, and (V) Granting Related Relief [Dkt. 23].
                               21
                                                  Response Deadline: February 20, 2019, except for the Official Committee of
                               22                 Unsecured Creditors and the Official Committee of Tort Claimants, for whom the
                                                  response deadline was extended by stipulation and order to March 8, 2019, at 4:00
                               23                 p.m. (Pacific Time).

                               24                 Responses Filed:

                               25                 A.         Sonoma Clean Power Authority’s Statement of Support for Debtors’
                                                             Motion for Postpetition Financing and Reservation of Rights [Dkt. 65].
                               26
                                                        i.          Declaration of Geoffrey G. Syphers in Support of Sonoma Clean
                               27                                   Power Authority’s Statement [Dkt. 67].

                               28


                             Case: 19-30088     Doc# 1042        Filed: 03/26/19    Entered: 03/26/19 09:28:55       Page 4 of
                                                                             12
                                1              B.         Statement of Peninsula Clean Energy Authority (A) In Support of
                                                          Debtors’ Motion for Postpetition Financing and (B) Reservation of Rights
                                2                         [Dkt. 149].
                                3              C.         Preliminary Objection of California State Agencies to DIP Financing
                                                          Motion [Dkt. 162].
                                4
                                               D.         Objection of the United States Trustee to Debtors’ Motion for Interim and
                                5                         Final Orders Authorizing Debtor in Possession Financing [Dkt. 168].
                                6              E.         Statement and Reservation of Rights of the California Self-Insurers’
                                                          Security Fund Regarding the DIP Motion and Entry of the Proposed
                                7                         Interim DIP Order [Dkt. 172].
                                8              F.         Objection of the Public Entities to Motion of Debtors Pursuant to 11
                                                          U.S.C. §§ 105, 362, 363, 364, 503 and 507, and Fed.R. Bankr. P. 2002,
                                9                         4001, 6003, 6004 and 9014 for Interim and Final Orders (I) Authorizing
                                                          the Debtors to Obtain Senior Secured, Superpriority, Postpetition
                               10                         Financing, (II) Granting Liens and Superpriority Claims, (III) Modifying
                                                          the Automatic Stay, (IV) Scheduling Final Hearing and (V) Granting
                               11                         Related Relief [Dkt. 494].
                               12              G.         Joinder by the SLF Fire Victim Claimants in Objection of the Public
                                                          Entities to Motion of Debtors Pursuant to 11 U.S.C. §§ 105, 362, 363, 364,
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                               13                         503 and 507, and Fed.R. Bankr. P. 2002, 4001, 6003, 6004 and 9014 for
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                                                          Interim and Final Orders (I) Authorizing the Debtors to Obtain Senior
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                               14                         Secured, Superpriority, Postpetition Financing, (II) Granting Liens and
                                                          Superpriority Claims, (III) Modifying the Automatic Stay, (IV)
                               15                         Scheduling Final Hearing and (V) Granting Related Relief [Dkt. 519].
                               16              H.         Statement and Reservation of Rights of the California Self-Insurers’
                                                          Security Fund Regarding the DIP Motion and Entry of the Proposed Final
                               17                         DIP Order [Dkt. 576].
                               18              I.         Statement and Reservation of Rights of Official Committee of Unsecured
                                                          Creditors with respect to Certain Matters Scheduled for February 27
                               19                         Hearing [Dkt. 610].
                               20              J.         Objection of the Official Committee of Tort Claimants to Debtors’ DIP
                                                          Financing Motion [Dkt. 800].
                               21
                                               K.         Objection of the SLF Fire Victim Claimants to Motion of Debtors
                               22                         Pursuant to 11 U.S.C. §§ 105, 362, 363, 364, 503, and 507, and Fed. R.
                                                          Bankr. P. 2002, 4001, 6003, 6004, and 9014 for Interim and Final Orders
                               23                         (I) Authorizing the Debtors to Obtain Senior Secured, Superpriority,
                                                          Postpetition Financing, (II) Granting Liens and Superpriority Claims, (III)
                               24                         Modifying the Automatic Stay, (IV) Scheduling Final Hearing, and (V)
                                                          Granting Related Relief [Dkt. 804].
                               25
                                                     i.          Declaration of Gerald Singleton in Support of Objection [Dkt.
                               26                                804-1].
                               27                   ii.          Request for Judicial Notice in Support of Objection [Dkt. 804-2].
                               28


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                                                                           12
                                1              L.         Joinder of Individual Butte Fire, North Bay Fires, and Camp Fire Victim
                                                          Claimants in the Objection by the Official Committee of Tort Claimants to
                                2                         Debtors’ DIP Financing Motion [Dkt. 828].
                                3                    i.          Declaration of Dario Ghetaldi, Esq., in Support of Joinder of the
                                                                 Official Committee of Tort Claimants to Debtors’ DIP Financing
                                4                                Motion [Dkt. 828-1].
                                5              M.         Statement of the Official Committee of Unsecured Creditors in Support of
                                                          the Final Approval of the Debtors’ DIP Motion [Dkt. 835].
                                6
                                               Related Documents:
                                7
                                               N.         Interim Order Pursuant to 11 U.S.C. §§ 105, 362, 363, 364, 503 and 507
                                8                         and Fed. R. Bankr. P. 2002, 4001, 6003, 6004 and 9014 for Interim and
                                                          Final Orders (I) Authorizing the Debtors to Obtain Senior Secured,
                                9                         Superpriority, Postpetition Financing, (II) Granting Liens and
                                                          Superpriority Claims, (III) Modifying the Automatic Stay, (IV)
                               10                         Scheduling Final Hearing, and (V) Granting Related Relief [Dkt. 217].
                               11              O.         Declaration of David Kurtz in Support of Debtors’ Motion Pursuant to 11
                                                          U.S.C. §§ 105, 362, 363, 364, 503 and 507 and Fed. R. Bankr. P. 2002,
                               12                         4001, 6003, 6004 and 9014 for Interim and Final Orders (I) Authorizing
                                                          the Debtors to Obtain Senior Secured, Superpriority, Postpetition
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                               13                         Financing, (II) Granting Liens and Superpriority Claims, (III) Modifying
 New York, NY 10153-0119




                                                          the Automatic Stay, (IV) Scheduling Final Hearing, and (V) Granting
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                               14                         Related Relief [Dkt No. 24].
                               15              P.         Notice of Filing of Proposed Final Order Pursuant to 11 U.S.C. §§ 105,
                                                          362, 363, 364, 503, and 507 and Fed. R. Bankr. P. 2002, 4001, 6004, and
                               16                         9014 (I) Authorizing Debtors to Obtain Senior Secured, Superpriority,
                                                          Postpetition Financing, (II) Granting Liens and Superpriority Claims, (III)
                               17                         Modifying the Automatic Stay, and (IV) Granting Related Relief [Dkt.
                                                          709].
                               18
                                               Q.         Debtors’ Omnibus Reply in Support of Debtors’ DIP Financing Motion
                               19                         and in Response to the Objections Thereto [Dkt. 817].
                               20              R.         Omnibus Reply of the DIP Administrative Agent to the Objections of (I)
                                                          the Official Committee of Tort Claimants, (II) the Public Entities, and (III)
                               21                         the SLF Fire Victim Claimants to Debtors’ Motion Seeking Postpetition
                                                          Financing [Dkt. 818].
                               22
                                               S.         Notice of Filing of Revised Proposed Final Order Pursuant to 11 U.S.C.
                               23                         §§ 105, 362, 363, 364, 503, and 507 and Fed. R. Bankr. P. 2002, 4001,
                                                          6004, and 9014 (I) Authorizing Debtors to Obtain Senior Secured,
                               24                         Superpriority, Postpetition Financing, (II) Granting Liens and
                                                          Superpriority Claims, (III) Modifying the Automatic Stay, and (IV)
                               25                         Granting Related Relief [Dkt. 1035].
                               26              Status: This matter is going forward.
                               27

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                                                                           12
                                1   CONTINUED MATTERS:
                                2           5.     Hedging Programs Motion: Motion Pursuant to 11 U.S.C. §§ 105, 363, and 364
                                    and Fed. R. Bankr. P. 4001 and 6004 Authorizing Utility to (A) Continue Hedging Programs, (b)
                                3   Enter Into and Perform Under Postpetition Hedging Transactions, and (C) Pledge Collateral and
                                    Honor Obligations Thereunder [Dkt. 780].
                                4
                                                  Response Deadline: March 20, 2019, at 4:00 p.m. (Pacific Time) except for the
                                5                 following parties, for whom the response deadline was extended to April 2, 2019,
                                                  at 4:00 p.m. (Pacific Time), as set forth in the Notice of Continued Hearing [Dkt.
                                6                 978]:
                                7                            1. Official Committee of Tort Claimants
                                                             2. Official Committee of Unsecured Creditors
                                8
                                                  Responses Filed:
                                9
                                                  A.      Turner Construction Company’s Limited Objection to Pacific Gas and
                               10                         Electric Company’s Motion Pursuant to 11 U.S.C. §§ 105, 363, and 364
                                                          and Fed. R. Bankr. P. 4001 and 6004 Authorizing Utility to (A) Continue
                               11                         Hedging Programs, (b) Enter Into and Perform Under Postpetition
                                                          Hedging Transactions, and (C) Pledge Collateral and Honor Obligations
                               12                         Thereunder [Dkt. 992].
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                                                  Related Documents:
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                               14                 B.      Declaration of Fong Wan in Support of Motion to 11 U.S.C. §§ 105, 363,
                                                          and 364 and Fed. R. Bankr. P. 4001 and 6004 Authorizing Utility to (A)
                               15                         Continue Hedging Programs, (b) Enter into and Perform under
                                                          Postpetition hedging Transactions, and (C) Pledge Collateral and Honor
                               16                         Obligations Thereunder [Dkt. 781].
                               17                 Status: This matter has been continued to the omnibus hearing to be held on April
                                                  9, 2019, at 9:30 a.m. (Pacific Time).
                               18
                                            6.     Short-Term Incentive Plan Motion. Motion of Debtors Pursuant to 11 U.S.C.
                               19   §§ 105(a), 363, and 503(c) for Entry of an Order (I) Approving Short-Term Incentive Plan and
                                    (II) Granting Related Relief [Dkt. 782], as corrected by Corrected Motion of Debtors Pursuant to
                               20   11 U.S.C. §§ 105(a), 363, and 503(c) for Entry of an Order (I) Approving Short-Term Incentive
                                    Plan and (II) Granting Related Relief [Dkt. 806].
                               21
                                                  Response Deadline: March 20, 2019, at 4:00 p.m. (Pacific Time), except for the
                               22                 following parties, for whom the response deadline was extended by stipulation
                                                  and order to March 28, 2019, at 4:00 p.m. (Pacific Time):
                               23
                                                             1. Official Committee of Tort Claimants
                               24                            2. Official Committee of Unsecured Creditors
                                                             3. Ad Hoc Committee of Senior Unsecured Noteholders
                               25                            4. Engineers and Scientists of California, International Federation of
                                                                Professional and Technical Engineers Local 20
                               26                            5. Office of the United States Trustee
                                                             6. SLF Wildfire Claimants
                               27

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                                                                           12
                                1                 Responses Filed:
                                2                 A.     Initial Objection of the Official Committee of Tort Claimants to Motion of
                                                         Debtors Pursuant to 11 U.S.C. §§ 105(a), 363, and 503(c) for Entry of an
                                3                        Order (I) Approving Short-Term Incentive Plan and (II) Granting Related
                                                         Relief [Dkt. 847].
                                4
                                                  B.     Joinder of the City and County of San Francisco to Initial Objection of the
                                5                        Official Committee of Tort Claimants to Motion of Debtors Pursuant to 11
                                                         U.S.C. §§ 105(a), 363, and 503(c) for Entry of an Order (I) Approving
                                6                        Short-Term Incentive Plan and (II) Granting Related Relief [Dkt. 968].
                                7                 Related Documents:
                                8                 C.     Declaration of Douglas J. Friske in Support of Motion of Debtors Pursuant
                                                         to 11 U.S.C. §§ 105(a), 363, and 503(c) for Entry of an Order (I)
                                9                        Approving Short-Term Incentive Plan and (II) Granting Related Relief
                                                         [Dkt. 783].
                               10
                                                  D.     Declaration of Dinyar Mistry in Support of Motion of Debtors Pursuant to
                               11                        11 U.S.C. §§ 105(a), 363, and 503(c) for Entry of an Order (I) Approving
                                                         Short-Term Incentive Plan and (II) Granting Related Relief [Dkt. 784].
                               12
                                                  E.     Ex Parte Application for Order Extending Time for Hearing on Motion of
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                               13                        Debtors Pursuant to 11 U.S.C. §§ 105(a), 363, and 503(c) for Entry of an
 New York, NY 10153-0119




                                                         Order (I) Approving Short-Term Incentive Plan and (II) Granting Related
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                               14                        Relief (ECF No. 782) [Dkt. 931].
                               15                 F.     Debtors’ Notice of Acceptance of the Court’s Tentative Ruling on the
                                                         Official Committee of Tort Claimants’ Ex Parte Application for Order
                               16                        Extending Time for Hearing on Motion of Debtors Pursuant to 11 U.S.C.
                                                         §§ 105(a), 363, and 503(c) for Entry of an Order (I) Approving Short-
                               17                        Term Incentive Plan and (II) Granting Related Relief (ECF No. 782) [Dkt.
                                                         939].
                               18
                                                  Status: This matter has been continued to the omnibus hearing to be held on April
                               19                 9, 2019, at 9:30 a.m. (Pacific Time).
                               20          7.       Employee Wages and Benefits Motion. Motion of Debtors Pursuant to 11
                                    U.S.C. §§ 105(a), 363(b), and 507 and Fed. R. Bankr. P. 6003 and 6004 for Interim and Final
                               21   Authority to (I) Pay Prepetition Wages, Salaries, Withholding Obligations, and Other
                                    Compensation and Benefits; (II) Maintain Employee Benefits Programs; and (III) Pay Related
                               22   Administrative Obligations [Dkt. 8].
                               23                 Response Deadline: March 20, 2019 at 4:00 p.m. (Pacific Time).
                               24                 Responses Filed:
                               25
                                                  A.     ESC Local 20’s Response to Debtors’ Motion to Pay Prepetition
                               26                        Employee Obligations and Continue Wages and Benefits [Dkt. 501].

                               27                        i.      Declaration of Joshua Sperry in support of ESC Local 20’s
                                                                 Response [Dkt. 503].
                               28


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                                                                          12
                                1              B.     Opposition of Certain Fire Damage Plaintiffs/Claimants Relating to the
                                                      North Bay Fire Litigation of October 2017 and the Camp Fire Litigation to
                                2
                                                      Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a), 363(b), and 507 and
                                3                     Fed. R. Bankr. P. 6003 and 6004 for Interim and Final Authority to (I) Pay
                                                      Prepetition Wages, Salaries, Withholding Obligations, and Other
                                4                     Compensation and Benefits; (II) Maintain Employee Benefits Programs;
                                                      and (III) Pay Related Administrative Obligations [Dkt. 517].
                                5
                                               C.     Statement and Reservation of Rights of Official Committee of Unsecured
                                6                     Creditors with respect to Certain Matters Scheduled for February 27
                                7                     Hearing [Dkt. 610].

                                8              D.     ESC Local 20’s Sur-Reply to Debtors’ Motion to Pay Prepetition
                                                      Employee Obligations and Continue Wages and Benefits [Dkt. 646].
                                9
                                               Related Documents:
                               10
                                               E.     Interim Order Pursuant to 11 U.S.C. §§ 105(a), 363(b), and 507 and Fed.
                               11                     R. Bankr. P. 6003 and 6004 for Interim and Final Authority to (I) Pay
                                                      Prepetition Wages, Salaries, Withholding Obligations, and Other
                               12
                                                      Compensation and Benefits; (II) Maintain Employee Benefits Programs;
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                               13                     and (III) Pay Related Administrative Obligations [Dkt. 210].
 New York, NY 10153-0119




                                               F.     Proposed Final Order on the Employee Wages and Benefits Motion and
      767 Fifth Avenue




                               14
                                                      redline comparison against the interim order previously entered by the
                               15                     Court [Dkt. 491-8].
                               16              G.     Debtors’ Statement and Omnibus Reply in Support of First Day and Other
                                                      Motions set for Hearing on February 27, 2019 [Dkt. 652].
                               17

                               18              H.     Further revised Proposed Final Order on the Employee Wages and
                                                      Benefits Motion and redline comparison against the interim order
                               19                     previously entered by the Court [Dkt. 654-5].

                               20              I.     Final Order Pursuant to 11 U.S.C. §§ 105(a), 363(b), and 507 and Fed. R.
                                                      Bankr. P. 6003 and 6004 for Interim and Final Authority to (I) Pay
                               21                     Prepetition Wages, Salaries, Withholding Obligations, and Other
                               22                     Compensation and Benefits; (II) Maintain Employee Benefits Programs;
                                                      and (III) Pay Related Administrative Obligations [Dkt. 705].
                               23
                                               Status: Pursuant to Paragraph 11 of the Final Employee Wage and Benefits
                               24              Order, ESC Local 20’s objection, as it relates to STIP Awards (as defined in the
                                               Employee Wage and Benefits Motion) solely for members of ESC Local 20, was
                               25              preserved. The objection of the ESC Local 20 labor union is preserved and
                                               continued pending the outcome of the Short-Term Incentive Plan Motion [Dkt.
                               26
                                               782].
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                                                                       12
                               1   II.   MATTERS SCHEDULED TO BE HEARD IN ADVERSARY PROCEEDING:
                                         PG&E Corp. v. Public Employees Ret. Assoc. of New Mexico, et al., Adv. Pro. No. 19-
                               2
                                         03006 (DM)
                               3
                                         A.     Motion for Preliminary Injunction. Motion for Preliminary Injunction and
                               4                Memorandum of Points and Authorities in Support of Debtors’ Motion for
                                                Preliminary Injunction as to Actions Against Non-Debtors [AP Dkt. 2].
                               5
                                                Response Deadline: March 13, 2019.
                               6
                                                Responses Filed:
                               7
                                                A.     Guzman Response. Memorandum of Points and Authorities in Support
                               8                       of Creditor Enrique Guzman’s Opposition to Motion for Preliminary
                                                       Injunction as to Actions Against Non-Debtors [AP Dkt. 13].
                               9
                                                       i.     Declaration of Jonathan E. David in Support of Creditor Enrique
                              10
                                                              Guzman’s Opposition to Motion for Preliminary Injunction as to
                              11                              Actions Against Non-Debtors [AP Dkt. 12].

                              12                B.     Tiger Gas Response. Opposition to Debtor’s Complaint for Preliminary
                                                       and Permanent Injunctive Relief to Stay Actions Against Non-Debtors.
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                                                       [Main Case 19-30088 Dkt. 859].
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                              14                       i.     Declaration of Leah E. Capritta [Main Case 19-30088 Dkt. 860].
                              15                C.     Tiger Gas Amended Response. Amended Opposition to Debtors’
                              16                       Motion for Preliminary Injunctive Relief as to Actions Against Non-
                                                       Debtors (Doc. 2) [AP Dkt. 14].
                              17
                                                       i.     Declaration of Leah E. Capritta [AP Dkt. 15].
                              18
                                                D.     Remington Response. Remington’s Declaration in Opposition to
                              19                       Debtor’s Complaint for Preliminary and Permanent Injunctive Relief to
                                                       Stay Actions Against Non-Debtors. [AP Dkt. 17].
                              20
                                                Related Documents:
                              21

                              22                E.     Debtors’ Complaint for Preliminary and Permanent Injunctive Relief as to
                                                       Actions Against Non-Debtors [AP Dkt. 1].
                              23
                                                F.     Declaration of Elizabeth Collier in Support of Debtors’ Motion for
                              24                       Preliminary Injunction as to Actions Against Non-Debtors [AP Dkt. 3].
                              25                G.     Reply Memorandum of Points and Authorities in Further Support of
                                                       Debtor’s Motion for Preliminary Injunction as to Actions Against Non-
                              26
                                                       Debtors [AP Dkt. 18].
                              27

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                               1                  H.     Declaration of Kevin W. Kramer in Support of Debtor’s Reply
                                                         Memorandum of Points and Authorities in Further Support of Debtor’s
                               2
                                                         Motion for Preliminary Injunction as to Actions Against Non-Debtors [AP
                               3                         Dkt. 19].

                               4                  I.     Certificate of Service of Ira Nikelsberg Regarding Initial Adversary
                                                         Proceeding Documents [AP Dkt. 7].
                               5
                                                  J.     Supplemental Certificate of Service of Ira Nikelsberg Regarding Initial
                               6                         Adversary Proceeding Documents [AP Dkt. 21].
                               7                  K.     Guzman Answer. Defendant Enrique Guzman’s Answer to Debtors’
                               8                         Complaint for Preliminary and Permanent Injunctive Relief as to Actions
                                                         Against Non-Debtors [Main Case 19-30088 Dkt. 1000].
                               9
                                                  L.     Tiger Gas Answer. Answer to Debtors’ Complaint for Preliminary and
                              10                         Permanent Injunctive Relief as to Actions Against Non-Debtors [AP Dkt.
                                                         20].
                              11
                                                  M.     Stipulation Between Debtors and State Farm Regarding Adversary
                              12                         Proceeding 19-03006 [AP Dkt. 8].
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                                                  N.     Stipulation and Agreement to Dismiss Christensen Defendants Without
                                                         Prejudice [AP Dkt. 9].
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                              15                  O.     Stipulation and Agreement to Martin Farrell-Araque Without Prejudice
                                                         [AP Dkt. 10].
                              16
                                                  P.     Order Granting Stipulation Between Debtors and State Farm Regarding
                              17                         Adversary Proceeding 19-03006 [AP Dkt. 11].
                              18
                                                  Status: This matter is going forward.
                              19

                              20           PLEASE TAKE NOTICE that copies of any papers filed with the court and referenced
                                   herein can be viewed and/or obtained: (i) by accessing the Court’s website at
                              21   http://www.canb.uscourts.gov, (ii) by contacting the Office of the Clerk of the Court at 450
                                   Golden Gate Avenue, San Francisco, CA 94102, or (iii) from the Debtors’ notice and claims
                              22   agent, Prime Clerk LLC, at https://restructuring.primeclerk.com/pge or by calling (844) 339-
                                   4217 (toll free) for U.S.-based parties; or +1 (929) 333-8977 for International parties or by e-
                              23   mail at:pgeinfo@primeclerk.com. Note that a PACER password is needed to access documents
                                   on the Bankruptcy Court’s website.
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                               1
                                   Dated: March 26, 2019                       WEIL, GOTSHAL & MANGES LLP
                               2
                                                                               KELLER & BENVENUTTI LLP
                               3
                                                                               By: /s/ Jane Kim
                               4                                                         Jane Kim
                               5                                               Proposed Attorneys for Debtors and
                                                                               Debtors in Possession
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